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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


                                    )
UNITED STATES OF AMERICA,           )
                                    )    Criminal No. 1:17-CR-10378-NMG
       v.                           )
                                    )
BRIAN AUGUSTINE JOYCE,              )    LEAVE TO FILE EXCESS PAGES
                                    )    GRANTED MARCH 30, 2018
            Defendant.              )
                                    )

     OPPOSITION OF BRIAN A. JOYCE AND HOWARD M. COOPER TO THE
          GOVERNMENT’S MOTION TO DISQUALIFY ATTORNEY
        HOWARD M. COOPER AND REQUEST FOR AUTHORIZATION
             TO ISSUE A SUBPOENA TO HOWARD M. COOPER


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         The government has moved to disqualify Attorney Howard M. Cooper as counsel in this

case, advancing the extraordinary proposition that it should be permitted to make him a witness

against his own client, Brian A. Joyce, and subpoena his file. The government’s motion renews

arguments it made, but which Judge Young rejected, during the grand jury phase of this case. In

denying the government’s prior motion, Judge Young “expresse[d] grave concern about the

government’s practice of subpoenaing” defense counsel, which “might result in the

disqualification of counsel from representing their clients due to an artificially-created conflict of

interest.” In re Grand Jury Subpoena, 273 F. Supp. 3d 296, 306 (D. Mass. 2017).

Unfortunately, the government now seeks to create the very result which so troubled Judge

Young.

                                       Statement of the Case

         Joyce was a Massachusetts State Senator from 1998 to 2017. He is also a member of

Massachusetts Bar and, as permitted under Massachusetts law, maintained a law practice while

he held office. The indictment charges, as relevant here, that Joyce received benefits from two

of his legal clients, an insurance company and a coffee shop franchise owner, in return for

official acts to be taken for their benefit rather than legal services. Joyce categorically denies the

charges. The indictment was preceded by a series of articles in The Boston Globe, an

investigation by the Enforcement Division of the Massachusetts State Ethics Commission, a

federal grand jury investigation and a search of Joyce’s law office on February 17, 2016. The

indictment was returned on December 7, 2017.
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        Joyce engaged Cooper (who has both criminal defense and defamation law expertise) in

late March 2015, after the Globe starting asking Joyce questions. See Affidavit of Howard M.

Cooper, attached hereto as Exhibit A, at ¶ 2. When the Ethics Commission subsequently

commenced an investigation, Joyce engaged Cooper to represent him in that investigation. Id. at

¶ 4. The Ethics Commission made its first written inquiry to Joyce on September 22, 2015, and

Cooper submitted Joyce’s response to that and several further requests for information, including

responses dated October 30, 2015, December 1, 2015, January 27, 2016, and February 5, 2016

that are at issue in the present motion. Id. at ¶ 5.

        The government seeks to disqualify Cooper, and call him as a witness against Joyce,

because it alleges that Cooper made six allegedly “false and misleading claims” to the Ethics

Commission on Joyce’s behalf “[b]etween April 2015 and February 2016.” Gov’t Memo. at 22.

The government contends that Joyce’s communications to Cooper related to these statements are

not privileged since made for the purpose of committing a crime or fraud; that the government is

therefore entitled to call Cooper as a witness and subpoena his file because he is “percipient

witness” to the “cover-up”; and that, since Cooper cannot be both a witness and counsel, he must

be disqualified. Alternatively, the government argues that Cooper and Joyce’s interests are in

conflict because “Joyce involved Attorney Cooper in actively concealing his ongoing corruption

and Joyce now seeks Cooper’s representation in defending Joyce at trial against charges arising

from that corrupt activity.” Gov’t Memo. at 18. The government offers no evidence suggesting

that Cooper knowingly engaged in any wrongdoing or knowingly made false statements. Indeed,

in a closed hearing before Judge Young in March 2017, it stated categorically that it had no

evidence that he did. (A copy of the transcript of that hearing, which Judge Young recently

unsealed despite the government’s efforts to keep it secret, is attached as Exhibit B).



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       The government’s motion is fundamentally flawed. First, it runs directly into contrary

First Circuit precedent, United States v. Diozzi, 807 F.2d 10 (1st Cir. 1986), which held, on facts

strikingly similar to those present here, that disqualification of counsel on account of pre-

indictment false statements made to the IRS on behalf of tax fraud defendants was a wrongful

denial of counsel of choice in violation of the Sixth Amendment, requiring reversal without the

need for any showing of prejudice. Second, the government’s conflict theory is baseless and, in

any event, Joyce, fully informed by independent counsel, agrees to waive any purported conflict.

Third, the government’s request for a Fed. R. Crim. P. 17 subpoena to Cooper ignores the rule

that actually applies here—Rule 16—which explicitly forbids the prosecution from obtaining the

information it seeks. Fourth, the crime-fraud exception applies only where a client uses a lawyer

to commit an ongoing or future crime or fraud; Cooper’s representation of Joyce—and, in

particular, the six statements he made on Joyce’s behalf to the Enforcement Division of the

Ethics Commission—concerned only past actions taken by Joyce. Moreover, the government

has also failed to establish a necessary prerequisite for invoking the crime-fraud doctrine in this

context: it has failed to offer any evidence establishing that Cooper’s statements were false or

intended to further a crime or fraud. Indeed, it has not produced any evidence supporting its

contentions at all, and its reliance on the fact of the indictment against Joyce is misplaced.

       The defendant stands before this Court after years of investigation have already led, as a

fait accompli, to the loss of his job, the end of his law practice, and the exhaustion of his

resources. Now the government takes aim at the one attorney who has represented him

throughout, in whom he reposes the greatest trust and confidence, and asks the Court to require

him to start over with new counsel he does not want and cannot afford. This would be a cruel,

unfair and clearly unconstitutional blow.



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                                              Argument

      I.      The Government Has Not And Cannot Demonstrate A Legitimate
              Need For Cooper’s Testimony Sufficient To Overcome Joyce’s Sixth
              Amendment Right To Choose Cooper As His Lawyer.

           Now that Joyce has been indicted and his Sixth Amendment right to counsel has attached,

United States v. Gouveia, 467 U.S. 180, 185 (1984), the government faces an even greater

burden in justifying its efforts to disqualify Cooper than the burden it failed to meet in the grand

jury phase, where Judge Young rejected the government’s attempt to force Cooper to testify.

The Sixth Amendment does not permit the government, for tactical reasons, to “veto” Joyce’s

selection of Cooper as his defense counsel absent a “legitimate justification.” United States v.

Stein, 541 F.3d 130, 154, 156 (2d Cir. 2008). Here, the government cannot demonstrate a need

for Cooper’s testimony sufficient to justify his disqualification. Joyce has offered to stipulate to

the only evidence which the government has legitimate reason to believe Cooper could provide.

Under controlling First Circuit precedent, disqualifying Cooper in these circumstances would

work a Sixth Amendment violation requiring reversal of any resulting conviction. See Diozzi,

807 F.2d 10.

           The Sixth Amendment provides that “[i]n all criminal prosecutions, the accused shall

enjoy the right . . . to have the Assistance of Counsel for his defence.” U.S. Const. amend. VI.

The Supreme Court has made clear “that an element of this right is the right of a defendant who

does not require appointed counsel to choose who will represent him.” United States v.

Gonzalez-Lopez, 548 U.S. 140, 144 (2006). Cf. Powell v. Alabama, 287 U.S. 45, 53 (1932). The

right to select one’s own counsel “reflects constitutional protection of the defendant’s free choice

independent of concern for the objective fairness of the proceeding.” Flanagan v. United States,

465 U.S. 259, 268 (1984). The government must “honor” a defendant’s Sixth Amendment right



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to counsel of his choice and cannot “veto” that choice “without good reason.” Stein, 541 F.3d at

154. As articulated by the Supreme Court:

       This means more than simply that the State cannot prevent the accused from
       obtaining the assistance of counsel. The Sixth Amendment also imposes on the
       State an affirmative obligation to respect and preserve the accused’s choice to
       seek this assistance.... [A]t the very least, the prosecutor and police have an
       affirmative obligation not to act in a manner that circumvents and thereby dilutes
       the protection afforded by the right to counsel.

Maine v. Moulton, 474 U.S. 159, 170-71 (1985).

       Accordingly, “[i]n moving to disqualify [a criminal defendant’s] chosen counsel, the

government bears a heavy burden of establishing that disqualification is justified.” Diozzi, 807

F.2d at 12. “[A]ttorney disqualification is a ‘drastic remedy,’ reserved for cases where the

attorney has ‘entangled himself to an extraordinary degree’ with his client.” Fonten Corp. v.

Ocean Spray Cranberries, Inc., 469 F.3d 18, 23 (1st Cir. 2006) (quoting United States v.

Locascio, 6 F.3d 924, 934 (2d Cir. 1993). While the First Circuit has “recognized that a district

court has some discretion to limit the exercise of the right to counsel of choice when insistence

upon it would disproportionately disadvantage the government or interfere with the ethical and

orderly administration of justice,” it has “also warned that disqualification of defense counsel

should be a measure of last resort.” Diozzi, 807 F.2d at 12 (citing United States v. Cortellesso,

663 F.2d 361, 363 (1st Cir. 1981)). The import of all this, as relevant here, is that the

government cannot make an attorney a witness and thereby force his disqualification where that

attorney’s testimony is not necessary to the government’s case. Id. at 13; see also United States

v. Perez, 325 F.3d 115, 128 (2d Cir. 2003) (motion to disqualify counsel properly denied where

“any benefit the government might gain if it were allowed to call [the attorney] as a witness was

outweighed by [the defendant’s] interest in retaining [the attorney] as his counsel of choice”).




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         Here, Joyce, advised by independent counsel, has offered to stipulate that he reviewed,

approved and authorized the statements Cooper made to the Ethics Commission that the

government contends are false.1 That brings this case squarely within the control of United

States v. Diozzi. The facts in Diozzi, a criminal tax prosecution, are strikingly similar to those

here. In Diozzi, the defendants’ counsel had submitted two lengthy memoranda to the IRS and

the Department of Justice before the defendants were indicted. 807 F.2d at 11. Before trial, the

government moved to disqualify defense counsel so it could call them as trial witnesses to testify

about their submissions to the IRS and DOJ, which the government alleged contained sixteen

false or misleading statements, demonstrating the defendants’ consciousness of guilt. Id. at 12.

The defendants offered to stipulate to the statements made by counsel and to the fact that they

were authorized by the clients. Id. Nevertheless, despite the offer and over the defendants’

objection, the court allowed the testimony and disqualified the attorneys from representing the

defendants because they had become witnesses. The defendants were convicted. Id.

         On appeal, the First Circuit reversed, holding that the stipulation was an adequate

substitute, rendering the testimony unnecessary. Disqualification had therefore been erroneous, a

violation of the Sixth Amendment, which, as structural error, required reversal without a

showing of prejudice. Id. at 15-16; see United States v. Gonzalez-Lopez, 548 U.S. 140, 146

(2006) (erroneous deprivation of right to counsel of choice requires reversal even if no prejudice

resulted). The First Circuit has repeatedly reaffirmed its holding in Diozzi. See, e.g., In re



    1
      Joyce is prepared to stipulate that “he reviewed, approved, and authorized the submission of the specific
statements” sent by Howard Cooper to the Ethics Commission; that he will not rely on any advice of Cooper
concerning the statements; that he will not rely upon any advice of Cooper with respect to the underlying
transactions and arrangements (as to which he states, in a separate affidavit, Cooper provided no representation or
advice); and waives any right to contend that Cooper has a conflict of interest resulting from his prior representation
of Joyce. Joyce’s proposed stipulation is made after consultation with independent counsel Martin Weinberg, Esq.
and Robert Goldstein, Esq. The proposed stipulation and Joyce’s affidavit are attached hereto as Exhibits C & D.



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Grand Jury Proceedings, 859 F.2d 1021, 1026 (1st Cir. 1988); United States v. Panzardi

Alvarez, 816 F.2d 813, 816 (1st Cir. 1987).

         The government tries but fails to distinguish Diozzi. First, the government argues that

Diozzi did not involve application of the crime-fraud exception. This misses the point. The

relevant question is whether the government’s allegation here—that Joyce used Cooper to make

false or misleading statements to the Ethics Commission during the course of a pre-indictment

investigation—provides a legitimate justification to make him a witness against Joyce and

thereby disqualify him as counsel. That is precisely the issue that the First Circuit confronted in

Diozzi. The Court should not permit the government to circumvent Diozzi merely by taking one

additional step: subpoenaing Cooper’s file. The government’s grounds for seeking that

subpoena—that Joyce allegedly used Cooper to make false or misleading statements to a

government agency in a pre-indictment investigation—are the very grounds the First Circuit in

Diozzi rejected as insufficient to justify an infringement on the Sixth Amendment right to

counsel. Accordingly, the government’s invocation of the crime-fraud exception here does not

provide a basis to depart from Diozzi.2

         Second, the government argues that unlike Diozzi, the testimony it seeks from Cooper

cannot be contained “within the four corners” of the stipulation Joyce offers. Gov’t Memo. at

14. But here, Joyce, advised by independent counsel, is prepared to stipulate that he reviewed,

approved and authorized Cooper’s letters to the Ethics Commission.3 No doubt the government

    2
      Relatedly, the government argues that Diozzi involved two “circumscribed” submissions to the IRS and DOJ
whereas this case involves “multiple false and misleading communications” to the Ethics Commission. Gov’t
Memo. at 13-14. In reality, the allegedly false statements relied on by the government here are contained in at most
four separate and equally “circumscribed” written communications from Cooper to the Ethics Commission. And in
any event, the number of allegedly false statements has no bearing on the analysis regarding whether a stipulation
will provide an adequate substitute to Cooper’s testimony.
    3
      The government objects that the proposed stipulation is inadequate because it will not identify the “source” of
the information contained in Cooper’s submissions. But that is irrelevant where the stipulation will state that Joyce
reviewed, approved, and authorized the statements, and thus the statements are properly attributable to Joyce.


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would like to question Cooper on all manner of topics regarding his representation of Joyce, but

its curiosity is no substitute for the kind of specificity it must show to issue a document trial

subpoena to any witness, never mind a defendant’s lawyer. Rule 17(c), which authorizes trial

subpoenas, does not allow a party to issue such a subpoena without being able to identify with

specificity what relevant and admissible evidence it expects to obtain for trial. See United States

v. Nixon, 418 U.S. 683, 700 (1974). Here, to invoke Rule 17(c), the government would need to

describe with particularity the probative, non-cumulative evidence it expects to obtain from

Cooper beyond the facts in Joyce’s proposed stipulation. See id.4 It has not and cannot make the

requisite showing. The government’s speculation that Cooper’s file may contain other evidence

that would not be covered by a stipulation is not adequate grounds to disqualify Cooper and

engage in an improper “fishing expedition” through his file. Id. at 699.5

        II.    Cooper Has No Conflict Of Interest Requiring His Withdrawal
               And Joyce, Advised By Independent Counsel, Will Waive The
               Alleged Conflicts Asserted By The Government.

          The government further attempts to distinguish Diozzi by arguing that various potential or

actual conflicts of interest, allegedly not present in that case, require Cooper’s disqualification.

Contrary to the government’s assertion, however, the potential for conflict of interest was briefed

extensively by the prosecution in Diozzi and obviously rejected by the First Circuit. 807 F.2d at

14-15. (An excerpt of the prosecution’s brief in Diozzi is attached as Exhibit E.) None of the

various potential conflicts which the government conjures up in its brief withstands serious

    4
      The prosecutor, “in order to carry his burden, must clear three hurdles: (1) relevancy; (2) admissibility; (3)
specificity.” United States v. Nixon, 418 U.S. 683, 698, 700 (1974).
    5
      The government speciously argues that the “heavily redacted” emails that Cooper produced pursuant to Judge
Young’s order in the grand jury proceeding further demonstrate the inadequacy of a stipulation. As previously
explained to the government when that production was made, the redactions were necessary to protect privileged
and work product material which was either not responsive to the grand jury subpoena or was not required to be
disclosed pursuant to Judge Young’s order. The redactions were fully consistent with Judge Young’s order and the
government did not challenge Cooper’s compliance with that order or appeal the same. The government cannot now
use the redactions as a basis to seek additional discovery from Cooper.


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scrutiny, and none is capable of forcing Cooper’s disqualification. Further, Joyce, with advice of

independent counsel, is prepared to waive the supposed potential conflicts posited by the

government. The case law fully supports this approach.

       A criminal defendant’s Sixth Amendment right to counsel of his choice can only be

overcome “by a showing of serious potential for conflict.” In re Grand Jury Proceedings, 859

F.2d 1021, 1024 (1st Cir. 1988). In evaluating the potential for conflict, “the court may rely on

counsel’s representations that no such conflict exists.” United States v. Santiago-Lugo, 167 F.3d

81, 84 (1st Cir. 1999). “Even where an actual conflict exists, however, a defendant may waive

[the] conflict and elect to have the attorney continue representation, so long as that waiver is

knowing, intelligent and voluntary.” Yeboah-Sefa v. Ficco, 556 F.3d 53, 68 (1st Cir. 2009).

None of the alleged conflicts identified by the government warrants disqualification.

       Advice of Counsel Defense. The government first argues that disqualification is required

because of the potential that Joyce may rely on an advice of counsel defense to explain his

submissions to the Ethics Commission. Joyce, however, has no plans to raise such a defense and

will formally waive his right to do so if Cooper remains as his counsel. See Ex. C. This

supposed conflict therefore provides no basis to disqualify Cooper. Similarly, Joyce will not

argue that he relied on advice from Cooper when he allegedly put in place the transactions and

arrangements which form the basis of the prosecution. He never sought or received such advice

or representation from Cooper. See Ex. D.

       “Unsworn Witness” Theory. Second, the government argues that disqualification is

necessary because if Cooper were to represent Joyce at trial, he would effectively act as

“unsworn witness” for the defense, “subtly impart[ing] to the jury his first-hand knowledge of

the events without having to swear an oath or be subject to cross examination[.]” See Fonten



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Corp., 469 F.3d at 23 (quoting United States v. Locascio, 6 F.3d 924, 933 (2d Cir. 1993)). There

is no merit to this claim. The First Circuit has expressed skepticism that it would recognize the

“unsworn witness” doctrine as grounds for disqualification at all, expressly reserving the

question, and suggesting instead that disqualification is required only where the attorney is a

“necessary witness” who is actually called to testify at trial. See Fonten Corp., 469 F.3d at 23.

Moreover, even if the First Circuit were to hold that an “unsworn witness” problem could

warrant disqualification, this is not such a case. On similar facts, the court in Diozzi rejected this

very argument, stating unequivocally that “[d]efense counsel cannot be subject to

disqualification merely for having represented their clients in a preindictment investigation.”

807 F.2d at 14. There is nothing remarkable about Cooper’s representation of Joyce before the

Ethics Commission that justifies a departure from this common sense principle. The concerns

the government identifies can be mitigated simply by not identifying Cooper as the attorney who

represented Joyce before the Ethics Commission, and redacting his name from documentary

evidence. See Diozzi, 807 F.2d at 14 n.8; United States v. Gorski, 36 F. Supp. 3d 256, 269, n.8

(D. Mass. 2014); United States v. Melo, 702 F. Supp. 939, 944 (D. Mass. 1988).6

        Cooper’s Self-Interest. Finally, the government argues that Cooper should be

disqualified because there exists a potential that Cooper’s defense of Joyce will be limited by

Cooper’s own self-interest. In the government’s words, “Joyce involved Attorney Cooper in

actively concealing his ongoing corruption and Joyce now seeks Cooper’s representation in

defending Joyce at trial against charges arising from that corrupt activity.” Gov’t Memo. at 18.

That claim has no merit. At the hearing before Judge Young during the grand jury investigation,


    6
       A copy of an unpublished order in Melo is attached as Exhibit F. In it, so as to avoid a potential unsworn
witness problem resulting from trial counsel’s preindictment representation of the defendant, Judge Keeton ordered
that trial counsel would be referred to at trial as “the attorney who was representing [the defendant].”



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the government repeatedly affirmed that it has absolutely no evidence that Cooper did anything

wrong.7 Here—while citing no evidence of any wrongdoing by Cooper—the government takes a

different tack. The government suggests that Cooper may have personal interests that conflict

with Joyce’s because “a more thorough investigation by Cooper of Joyce’s responses to the

Ethics Commission may have been warranted.” Gov’t Memo. at 18. First, as even a cursory

view of Cooper’s letters to the Ethics Commission indicates, he did make an extensive

investigation of the facts. More importantly, however, as the Affidavit of former Massachusetts

Supreme Judicial Court Associate Justice Robert J. Cordy establishes, the government’s

contention “betrays a profound misunderstanding of defense counsel’s role in administrative,

civil or governmental investigations.” Ex. G, Affidavit of Robert J. Cordy, Esq., ¶ 7. Put simply,

even if Cooper had failed to investigate Joyce’s account before communicating his defense to the

Ethics Commission (which as noted, is not the case), there would be no reason for Cooper, or

any similarly situated lawyer, to be concerned should that conclusion emerge at trial.

        As Cordy’s Affidavit explains, a lawyer representing a client before an agency like the

Enforcement Division may, of course, exercise his own independent professional judgment about

how much investigation to perform before making a submission to the Enforcement Division, or


    7
     In response to the Judge Young’s questions at the March 30, 2017 hearing, the government made clear that it
was not accusing Cooper of any wrongdoing:

                  BLOOMER: No, I don’t think it does [implicate Cooper], and I don’t allege that it
                 implicated Cooper at all . . . .
                            ....
                  BLOOMER: And I have no information in my possession right now to suggest at all
                 that Cooper was somehow involved in any of this. We’re focusing on what Joyce did.
                            ....
                 He [Joyce] then uses Cooper’s services – and I’m not saying Cooper knows this at all, um,
                 to facilitate and conceal this ongoing crime.

Ex. B, March 30, 2017 Hearing Tr. at 5-6. Thus, when Judge Young observed that “I have no basis for drawing
such an inference [that Cooper conspired with Joyce to make a fraudulent submission], nor do you[,]” Mr. Bloomer
agreed, saying: “No. No. No.” Id. at 11.



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any other investigator, on his client’s behalf. Id. at ¶ 8. But his professional obligation, under

the Massachusetts Rules of Professional Conduct, is quite limited. Id. A lawyer in those

circumstances runs afoul of his professional obligations only if he has “actual knowledge” that

information he submits on behalf of a client to an investigative agency or a tribunal is false. Id.;

see also Commonwealth v. Mitchell, 438 Mass. 535, 552 (2003); In re Grand Jury Subpoena

(Legal Services Center), 615 F. Supp. 958, 969 (D. Mass. 1985) (lawyer complies with ethical

requirements in advancing client’s statements absent “obvious indications” of fraud). A lawyer

is under a professional obligation to “represent a client zealously within the bounds of the law,”

Mass. R. Prof. C. 1.3, but may not “knowingly . . . make a false statement . . . [or] offer evidence

that the lawyer knows to be false.” Mass. R. Prof. C. 3.3(a)(3), 4.1. In Commonwealth v.

Mitchell, 438 Mass. 535 (2003), the Supreme Judicial Court held that under these professional

rules a lawyer “knowingly” offers a false statement only when he has determined in “good faith”

that the statement was untrue on the basis of a “firm basis in fact.” Id. at 546. Because of the

importance of preserving client’s ability to secure zealous representation, the court explained that

this “requires more than mere suspicion or conjecture on the part of counsel, more than a belief

and more information than inconsistencies in statements by the defendant or in the evidence.

Instead, the standard mandates that a lawyer act in good faith based on objective circumstances

firmly rooted in fact.” Id. Furthermore, and most pertinent to the question here, the court held

that “we decline to impose an independent duty on the part of counsel to investigate because

such a duty would be incompatible with the fiduciary nature of the attorney-client relationship.”

Id. at 546-47 (internal quotation omitted).

       Based on these considerations, there is no basis to believe that Cooper would in any way

be conflicted in representing Joyce at trial. Whether any investigation Cooper conducted was



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thorough or less than thorough, the fact remains that Cooper, as a Massachusetts lawyer, has no

reason for personal concern based on the government’s claims about how “thorough” his

“investigation” was. Ex. G, Cordy Aff. ¶¶ 7-8. The government has not shown any reason to

believe that Cooper did anything, or failed to do anything, except what his ethical duties allowed

and even required of him. In any event, the government should not be permitted to manufacture

a conflict by making baseless criticism of Cooper’s performance, claiming that Cooper’s

personal interests are therefore implicated, then seeking to disqualify him because of the

government’s own unfounded contentions. That is particularly true where the government’s own

statements to Judge Young (which the government unsuccessfully sought to keep secret) make

clear that it has no evidence that he knowingly participated in Joyce’s alleged scheme.

         In any event, all the supposed conflicts conjured up by the government are capable of

being waived. Joyce is prepared to make such a waiver and submit to a colloquy to satisfy the

Court that the waiver is knowing, voluntary, and made with the advice of independent counsel.

See Ex. C. The Court should decline the government’s invitation to reject that waiver. A

conflict may be unwaivable only in “circumstances in which an attorney has reason to fear that a

vigorous defense of the client might unearth proof of the attorney’s criminality.” United States

v. Saccoccia, 58 F.3d 754, 772 (1st Cir. 1995); United States v. Soldevila-Lopez, 17 F.3d 480,

487 n.4 (1st Cir. 1994) (“Per se Sixth Amendment violations have been found where trial

counsel was implicated in the crime for which his client was on trial . . . .”); see also United

States v. Cain, 671 F.3d 271, 293-94 (2d Cir. 2012) (a conflict is unwaivable only if “no rational

defendant would knowingly and intelligently desire the conflicted lawyer’s representation”).8



    8
      In this context, a waiver is considered “knowing and intelligent” if the court finds that the defendant is “aware
of and understands the various risks and pitfalls, and that he has the rational capacity to make a decision on the basis
of this information.” United States v. Curcio, 680 F.2d 881, 888 (2d Cir. 1982). A waiver can be found to be


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         There is no basis here to reject Joyce’s knowing and voluntary waiver. The government

relies on United States v. Saccoccia for its argument, but there the First Circuit upheld the

defendant’s waiver of conflict-free counsel and affirmed the defendant’s conviction for money

laundering, even though the defendant’s attorney had been indicted in a foreign jurisdiction on

charges that he himself conspired with the defendant to launder funds. 58 F.3d at 771-72. Here,

there is even less reason to reject Joyce’s waiver than in Saccoccia, where Cooper is not in any

way implicated in Joyce’s alleged crimes. Nor is there any merit to the government’s contention

that if Joyce were convicted, and the conviction affirmed on appeal, that Cooper’s supposed

conflicts may make the conviction vulnerable to a collateral attack under 28 U.S.C § 2255. We

have been unable to find a single example within the First Circuit of a court invalidating a

defendant’s knowing and voluntary conflict waiver on a § 2255 petition (or on direct appeal) and

the government cites none.9 This Court has recently rejected a § 2255 petition based on

supposed conflicts which the defendant had knowingly waived in a colloquy with the court. See

United States v. Liceaga, 45 F. Supp. 3d 133, 136 (D. Mass. 2014) (Gorton, J.).

    III.     Rule 16 Of The Federal Rules Of Criminal Procedure Exclusively Governs
             Disclosure From A Defendant And His Counsel In Criminal Cases.

         The government’s motion requests that the Court authorize it to subpoena Cooper’s “file”

without tendering a proposed subpoena or identifying specific categories of documents it seeks.

Whatever the scope of its request, however, if Cooper is not disqualified, the government has no


intelligently made even if, in the court’s view, it is “woefully foolish.” United States v. Curcio, 694 F.2d 14, 25 (2d
Cir. 1982), abrogated on other grounds by Flanagan v. United States, 465 U.S. 259, 263 (1984).
    9
      In United States v. Martorano, the First Circuit reversed the denial of a motion for a new trial where the
defendant had purported to waive a conflict resulting from joint representation, but the court had not properly
inquired of the defendant whether he understood the risks associated with that type of representation. United States
v. Martorano, 610 F.2d 36, 39 (1st Cir. 1979). See United States v. Foster, 469 F.2d 1, 5 (1st Cir. 1972) (“[I]t shall
be the duty of the trial court, as early in the litigation as practicable, to comment on some of the risks confronted
where defendants are jointly represented to insure that defendants are aware of such risks, and to inquire diligently
whether they have discussed the risks with their attorney . . . .”).



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right to subpoena his file or part of it. The government cites no authority for the remarkable idea

that it is entitled to issue a Rule 17(c) trial subpoena for the file of the active opposing attorney in

the case. If Cooper is not disqualified, this request must be denied, without more.

        The government may obtain a Rule 17(c) trial subpoena for a third party if it meets the

requirements of the rule, i.e., that the documents sought are relevant, admissible, and identified

with sufficient specificity, and that the subpoena is sought in good faith and not intended as a

general “fishing expedition.” Nixon, 418 U.S. at 699. But there is no basis for seeking

documents from the file of a defense attorney except as authorized by the Rules of Criminal

Procedure—whether those documents are privileged or not. Disclosure of defense information

to the prosecution is governed by the rules of discovery, which provide for disclosure of

particular items and documents. A subpoena may not be used to circumvent the limitations of

the Criminal Rules. See Bowman Dairy v. United States, 341 U.S. 214, 220 (1951) (“It was not

intended by Rule 16 to give a limited right of discovery, and then by Rule 17 to give a right of

discovery in the broadest terms.”); United States v. Tucker, 249 F.R.D. 58, 65 (S.D.N.Y. 2008)

(characterizing Bowman Dairy as holding that a Rule 17 trial subpoena to a party is governed by

the limitations of Rule 16). Rule 16 provides for disclosure to the government only of

information which the defendant “intends to use . . . in the defendant’s case-in-chief at trial.”

Fed. R. Crim. P. 16(b)(1)(A). Moreover, it flatly states that “reports, memoranda, or other

documents made by the defendant, or the defendant’s attorney or agent, during the case’s

investigation or defense” or “a statement made to . . . the defendant’s attorney . . . by the

defendant,” are “not subject to disclosure.” Fed. R. Crim. P. 16(b)(2) (emphasis added).

        The government’s contention appears to be that it is entitled to materials which are not

privileged on the ground that they are statements made for the purpose of furthering a crime or



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fraud. But Rule 16, and in particular, its limitations on government discovery of defense

information, applies directly to non-privileged as well as privileged information. Accordingly,

unless Cooper is first disqualified—which for the reasons explained above he cannot be—the

government has no ability to obtain Cooper’s file.

    IV.        The Government Has Not Provided A Valid Basis To Issue A Rule 17(c)
               Trial Subpoena For Cooper’s File Or Any Part Of It.

           In analyzing whether the government is entitled to obtain material from Cooper’s file, we

must start from the proposition that confidentiality of defense counsel’s file is protected by the

Sixth Amendment. See Greater Newburyport Clamshell Alliance v. Public Service Co. of New

Hampshire, 838 F.2d 13, 21 (1st Cir. 1988) (“utmost candor between an attorney and client is

essential to effective assistance of counsel. “[T]he essence of the Sixth Amendment right is,

indeed, privacy of communication with counsel.” (quoting United States v. Rosner, 485 F.2d

1213, 1224 (2d Cir. 1973)); see also Glasser v. United States, 315 U.S. 60, 62 (1942); Bittaker v.

Woodford, 331 F.3d 715, 724-25 (9th Cir. 2003). Accordingly, the government has no right to

invade defense counsel’s file absent “legitimate justification.” Stein, 541 F.3d at 156.

           Even if Rule 17 could be applied to this situation, the government has not satisfied its

requirements. Rule 17 “was not intended to provide a means of discovery for criminal cases”

and it does not countenance “fishing expedition[s].” Nixon, 418 U.S. at 698, 700. Accordingly,

the prosecutor, “in order to carry his burden, must clear three hurdles: (1) relevancy; (2)

admissibility; (3) specificity.” Id. at 700.10 Put another way, Rule 17 requires that a trial

    10
         In addition, a party seeking authorization to issue a Rule 17(c) trial subpoena must show:
           (2) that they are not otherwise procurable reasonably in advance of trial by exercise of due
           diligence; (3) that the party cannot properly prepare for trial without such production and
           inspection in advance of trial and that the failure to obtain such inspection may tend unreasonably
           to delay the trial; and (4) that the application is made in good faith and is not intended as a general
           ‘fishing expedition.’
Nixon, 418 U.S. at 699.



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subpoena identify with specificity what relevant and admissible evidence the propounding party

expects to obtain. Id. at 698, 700. If the government “cannot reasonably specify the information

contained or believed to be contained in the documents sought but merely hopes that something

useful will turn up, the requirement of specificity will not have been met.” United States v.

Sawinski, 2000 WL 1702032, at *2 (S.D.N.Y. 2000).

                 A. The Government Has Not Satisfied The Requirement Of Specificity.

         The government has not specified which documents it seeks, other than Cooper’s entire

“file.” Even if the crime-fraud exception provided a basis for discovery—which, for the reasons

explained below, it does not—it would not subject Cooper’s entire file to disclosure but instead

would apply only to those specific communications which further the alleged crimes. See, e.g.,

In re Richard Roe, Inc., 68 F.3d 38, 40 (2d Cir. 1995) (“the crime-fraud exception applies only

where there is probable cause to believe that the particular communication with counsel or

attorney work product was intended in some way to facilitate or to conceal the criminal activity.”

[emphasis added]); Pfizer Inc. v. Lord, 456 F.2d 545, 551 (8th Cir. 1972) (ordering production

only of “those documents individually found to have been prepared in perpetration or furtherance

of fraudulent activity”).11 Because the government has failed to identify the specific categories

of documents it seeks, the Court should deny the government’s request for Cooper’s entire file.12




    11
       See also In re A.H. Robins Co., Inc., 107 F.R.D. 2, 15 (D. Kan. 1985) (“the prima facie showing of crime or
fraud cannot open defendant’s files completely or give plaintiffs carte blanche with respect to attorney-client
communications”); MacNamara v. City of New York, 2008 WL 186181, *4 (S.D.N.Y. 2008) (“Here, it is clear that
plaintiffs have failed to proffer sufficient evidence demonstrating that the entirety of communications between Legal
Bureau representatives and arresting officers at Pier 57 were made ‘with an intent to further an unlawful act.’”).
    12
      While, as noted, the Court should not apply the crime-fraud doctrine at all, the most that the government
could seek, on its theory, would be communications between Cooper and Joyce relating to the six specific
statements Cooper made in response to inquiries of the Ethics Commission between October 2015 and February
2016 which the government contends were false.



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               B. The Crime-Fraud Exception Does Not Apply Here.

        The government’s request for a subpoena for Cooper’s file—even if it were limited to

communication between Joyce and Cooper related to the six allegedly false statements Cooper

made to the Enforcement Division—should be rejected because, on its face, the request seeks

material protected by the attorney-client privilege and the government has failed to show that the

crime-fraud exception applies. The government’s crime-fraud argument fails for two main

reasons. First, the crime-fraud exception applies when a client uses a lawyer to commit a crime

or fraud, not to defend the client against allegations that the client engaged in misconduct.

Extending the crime-fraud exception to a case where the lawyer is defending a client against

such allegations—as the government seeks to do here—is unwarranted by the case law and

would have serious repercussions detrimental to the administration of justice. Second, the

government has failed to demonstrate, by the applicable evidentiary standards, that Joyce used

Cooper to further a crime or fraud.

                       1. The Crime-Fraud Exception.

       The crime-fraud exception to the attorney-client privilege “withdraws protection [of the

privilege] where the client sought or employed legal representation in order to commit or

facilitate a crime or fraud.” In re Grand Jury Proceedings, 417 F.3d 18, 22 (1st Cir. 2005). To

successfully invoke the crime-fraud exception and disregard the attorney-client privilege the

government must prove two separate things:

       (1) that the client was engaged in (or was planning) criminal or fraudulent activity
       when the attorney-client communications took place; and (2) that the
       communications were intended by the client to facilitate or conceal the criminal or
       fraudulent activity.

In re Grand Jury Proceedings (Gregory P. Violette), 183 F.3d 71, 75 (1st Cir. 1999) (emphasis

in original). The crime-fraud exception does not apply to the defense of accusations concerning



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past acts and “does not operate to remove communications concerning past or completed crimes

or frauds from the attorney-client privilege.” In re Fed. Grand Jury Proceedings 89-10, 938

F.2d 1578, 1581 (11th Cir. 1991). Rather, it applies only when the client has engaged the

services of a lawyer “in furtherance of future illegal conduct.” United States v. Zolin, 491 U.S.

554, 556 (1989) (emphasis added); see also United States v. Kerik, 531 F. Supp. 2d 610, 617

(S.D.N.Y. 2008) (crime-fraud exception applies where “the particular communication or work

product was intended to facilitate or conceal ongoing or contemplated criminal or fraudulent

activity”); Restatement (Third) of the Law Governing Lawyers § 82 cmt. e (“The exception does

not apply to communications about client criminal or fraudulent acts that occurred in the past.

Communications about past acts are necessary in defending against charges concerning such

conduct....”).

                      2. Cooper Represented Joyce Only To Defend Joyce’s Alleged Past
                         Misconduct; Consequently, The Crime-Fraud Doctrine Does Not
                         Apply.

        Joyce never sought nor received any advice or representation from Cooper regarding

entering into the transactions and arrangements which form the basis for this prosecution. Ex.

D, Joyce Aff. ¶ 2. Cooper was first called upon to respond to an Ethics Commission inquiry on

September 22, 2015, long after the arrangements at issue were allegedly put in place. Ex. A,

Cooper Aff. ¶ 4. This fact alone disposes of the government’s crime-fraud argument. The

crime-fraud exception simply does not extend to Cooper’s pre-indictment defense of past

conduct before the Ethics Commission. The version of the crime-fraud exception the

government advances—that an attorney presenting a defense on behalf of a client to a state

investigative agency concerning past acts “conceals” a federal crime—has no limiting principle.

Under this theory, any advocacy which is contradicted by any evidence in the possession of the

government furthers a federal crime and transforms the lawyer into a witness. (The

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government’s treatment of Cooper’s partner’s letters to The Boston Globe as part of a criminal

cover-up triggering the crime-fraud exception demonstrates just how elastic the government’s

theory is.) The First Circuit however has made clear that “[d]efense counsel cannot be subject to

disqualification merely for having represented their clients in a preindictment investigation.”

Diozzi, 807 F.2d at 14.

       As the Affidavit of former Associate Justice Cordy makes clear, the government’s

position has serious policy implications that would adversely impact the administration of

justice. In particular, if the government’s approach is adopted, lawyers’ ability to mount

effective pre-indictment or pre-charging defenses in civil, administrative and government

investigations in Massachusetts would be seriously undermined, and the significant benefits to

the administration of justice that accompany pre-charging discussions between defense counsel

and the government will be placed in jeopardy. Ex. G, Cordy Aff. ¶ 10. As Cordy attests:

       In many cases, particularly white collar matters, investigations last for years.
       During those investigations, lawyers representing the subject and targets of
       investigations often have extensive pre-indictment or pre-charging discussions
       with the government lawyers and agents conducting those investigations.
       ....
       These pre-charge discussions are typically quite useful, and often indispensable,
       for both sides. Prosecutors and Investigators often pose questions to defense
       counsel that permit counsel to identify the focus of the government’s
       investigation, and defense counsel often provide responses—both factual and
       legal—that respond to the questions in a way that permit a defendant to advance
       his position. The government has an opportunity to evaluate those responses,
       consider their own evidence in light of those responses, and either re-evaluate or
       further focus their efforts. When these pre-charge communications take place,
       both sides—the defense and the government lawyer or investigator conducting the
       investigation—typically have imperfect knowledge of the facts.
       ....
       Defense counsel rarely knows the strength the evidence the government has
       gathered against his or her client, or what particular witnesses have told the
       government or testified in the grand jury. Indeed, defense lawyers must by
       necessity almost always rely on what their clients have told them, and are duty
       bound, when the situation warrants, to advance the client’s position on the facts
       unless they actually know that the defendant is not telling the truth.


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       ....
       If a defense lawyer runs the risk of disqualification, and of opening up his file to
       the government whenever he makes a factual representation to the government on
       his client’s behalf before the government makes a charging decision, the practical
       lesson to defense counsel will be clear: wait until trial to offer any evidence he or
       she might have that could contradict the government’s theory of the case. That
       will, in my opinion, dramatically reduce the practice, described above, of pre-
       charge exchanges of information between the government and defense counsel, a
       practice that positively impacts the administration of justice by helping weed out
       unmeritorious cases that would otherwise take up the Court’s time, and helping
       the government (and the Court) by narrowing the focus of those cases the
       government does choose to bring.

Ex. G, Cordy Aff. ¶¶ 11-12, 15, 20. Here, the government, having already failed in its first

attempt at obtaining Cooper’s file at the grand jury stage, chose to include in the indictment

allegations concerning Cooper’s submissions to the Ethics Commission, identifying them as

racketeering acts. As Cordy’s Affidavit also explains, prosecutors could readily skirt the crime-

fraud doctrine’s requirement that a defendant’s crime be ongoing, or in the planning stage when

he consults counsel by charging defense counsel’s pre-charge statements to prosecutors as

separate criminal acts:

       Prosecutors can almost always choose to describe a lawyer’s submission to
       investigators or a government attorney conducting an investigation as a separate
       criminal act or as part of plan to further or conceal a criminal scheme—just as the
       government has done here. For example, in the case of a Wells submission, if
       prosecutors believe they have evidence that contradicts what defense counsel said
       about the facts in the Wells submission, they could easily choose to add a count
       for a violation of 18 U.S.C. § 1001, or claim, in a prosecution for securities fraud
       in violation of 18 U.S.C. § 1348 or other criminal securities laws that the false
       statement defense counsel made was part of the “manner and means” of a scheme
       to defraud. Similarly, if a defense lawyer makes factual statements to government
       lawyers investigating a health care fraud case, and the government ultimately
       concludes that those statements were false, the government could readily charge
       the client with an 18 U.S.C. § 1001 violation, or charge that the defense lawyer’s
       statement to the government is part of the manner and means of a health care
       fraud scheme under 18 U.S.C. § 1347.
       Indeed, that is what appears to have happened here. The face of the government’s
       indictment against Joyce shows that government has chosen to list Cooper’s
       submissions to the Ethics Commission (and his partner’s letter to the Boston
       Globe) as racketeering acts. They certainly do not appear to be essential to the


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       government’s case (there are 116 other alleged racketeering activities listed in the
       indictment).

Id. ¶¶ 18-19 (emphasis in original). The government’s claim that Cooper’s defense of Joyce in

an investigation by the State Ethics Commission amounts to a cover-up of the crimes for which

Joyce stands indicted does not make it so, any more than Joyce’s defense of the indictment is

part of a supposed cover-up. Cf. Grunewald v. United States, 353 U.S. 391, 402 (1957) (“[A]fter

the central criminal purposes of a conspiracy have been attained, a subsidiary conspiracy to

conceal may not be implied from circumstantial evidence showing merely that the conspiracy

was kept a secret and that the conspirators took care to cover up their crime in order to escape

detection and punishment.”).

                       3. The Government Has Failed To Demonstrate, By The Applicable
                          Evidentiary Standards, That Joyce Used Cooper To Further A
                          Crime Or Fraud.

                                   a. The Evidentiary Standards.

       As noted, to establish the crime-fraud exception to the attorney-client privilege, the

government must establish two things: (1) that the defendant was engaged in or planning a

crime, and (2) that the defendant intended communications with counsel to facilitate or conceal

that planned or ongoing crime. Violette, 183 F.3d at 75. The Supreme Court has never decided,

however, what quantum of proof is necessary to establish either element of the crime-fraud

exception. See Zolin, 491 U.S. at 563.

       The First Circuit has held, in a case where the Sixth Amendment right to counsel was not

in play, that the government must show that it has a “reasonable basis” to establish those two

elements. Gorski, 807 F.3d at 461. Gorski also held that in those circumstances an indictment,

standing alone, was sufficient to establish the first aspect of the crime-fraud test: that the

defendant was engaged in criminal or fraudulent conduct. Id. The government relies on that


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precedent here, citing only to the indictment in support of its invocation of the crime-fraud

exception. But it cites no authority that the “reasonable basis” showing normally used to invoke

the crime-fraud exception should apply where the Sixth Amendment right to counsel of choice

would hinge on that determination. The reasonable basis standard cannot apply where

confidentiality is protected by the Sixth Amendment. It cannot be that the government is entitled

to strip away that confidentiality without establishing the elements of crime-fraud by at least a

preponderance of the evidence, which is the standard generally used to decide much less

consequential preliminary questions concerning the admissibility of evidence under Rule 104(a)

of the Federal Rules of Evidence. See, e.g., Bourjaily v. United States, 483 U.S. 171, 176 (1987).

       Similarly, Gorki’s holding that an indictment was sufficient to establish the first part of

the crime-fraud test—that a defendant was planning or engaged in criminal activity at the time he

sought the lawyer’s assistance—should not apply in these circumstances. The defendant’s right

to counsel was not implicated in Gorski because the subpoena was directed to former

transactional counsel, not Gorski’s criminal defense counsel. 807 F.3d at 456. The constitution

should not permit the government to manipulate the right to counsel through artful pleading. Cf.

Maine v. Moulton, 474 U.S. at 170-71; Stein, 541 F.3d at 156. If the existence of an indictment

were dispositive of the applicability of the crime-fraud exception, then in cases where defense

counsel has represented the defendant in a pre-indictment investigation, all the government

would need to do to veto a defendant’s counsel of choice would be to add an allegation

concerning that pre-indictment defense to the indictment, or, at best, just have some evidence

that the accused’s defense is not true. See also Ex. G, Cordy Aff. ¶ 18.

       Moreover, the Gorski court held only that the indictment satisfied the first prong of the

crime-fraud test, i.e., that the client was engaged in criminal or fraudulent activity. 807 F.3d at



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461. As for the second prong, the court relied on findings of fact made on the basis of evidence

outside the four corners of the indictment. Id. District courts in other circuits have employed

similar analyses in cases in which the government has relied on an indictment to establish the

crime-fraud exception. As one court explained, “[a]lthough an indictment may provide probable

cause to believe that the crime charged was committed, an indictment, standing alone, does not

provide probable cause to believe that [a defendant’s] communications with [his] lawyers were

in furtherance of the conduct charged in the indictment.” United States v. Stewart, 2003 WL

23024461, *2 (S.D.N.Y. 2003); see also United States v. Balsiger, 2013 WL 3490873, at *5

(E.D. Wis. 2013). This is true even though the government has included in an indictment

allegations concerning an attorney’s involvement in the facts underlying the charge. See United

States v. Levin, 2015 WL 5838579, at *4 (S.D.N.Y. 2015) (rejecting argument that indictment

necessarily satisfies second prong of crime-fraud test; noting that “the issuance of an indictment

does not necessarily equate with agreement by the Grand Jury that there is probable cause to

believe each alleged fact occurred as stated”).

                                   b. The Government’s Failure To Make
                                      The Required Showing.

       The government’s invocation of the crime-fraud theory also fails because it has not

shown, by any standard of proof, that any of Cooper’s statements to the Ethics Commission were

“intended by the client to facilitate or conceal” the conduct alleged to be criminal, as the crime-

fraud cases require. It is essential to focus on what information the correspondence actually

contained, since the government’s motion is premised on misleading and selective quotation and

critical omissions from the actual record of correspondence. Some of the statements are not

shown to be false at all because the government, having failed to convince Judge Young that its

evidence satisfied crime-fraud standards, now chooses to rest entirely on the indictment, without


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presenting any evidence at all. For the reasons discussed above, this will not suffice. Other

statements, in passages not highlighted by the government, actually disclose the very information

the defendant is accused of concealing. Still others are neither true nor false, but are statements

of opinion, or argument about what the law requires or what the evidence shows. Some are

deficient for all of these reasons.

                                              i. Statements Concerning The EIB Company.

         Two of the statements challenged by the government concerning Joyce’s relationship

with the EIB Company literally disclose precisely what the government says they concealed:

         In the first such example, the government alleges that Joyce falsely claimed, through

Cooper, that he “received no compensation” for attending a June 3, 2013 meeting with the DOI

Commissioner and thereby “concealed Joyce’s receipt of $5000 per month from the EIB

Company.” Gov’t Memo. at 7. On the contrary, Cooper’s letter stated explicitly that “Senator

Joyce’s firm has been engaged by [EIB] to provide certain legal services for a flat fee rate of

$5000 per month.” Ex. H, at 4 (emphasis added). The letter provided a detailed and lengthy

review of all the kinds of compensation and benefits Joyce received from EIB, which included,

in addition to the $5000 monthly retainer (which covered HR related matters13), specific matters

not covered by the retainer (for which he billed separately), insurance defense cases referred by

the EIB Company, and the receipt of common stock in the company. Id. at 4-6, 9. The

government has not suggested anything that was omitted from this list. As to the meeting itself,


    13
       In point of fact, in response to a summons the Ethics Commission issued to the EIB Company, an attorney for
the EIB Company represented to the Commission that while the company was asserting the attorney-client privilege
to withhold documents showing “Joyce’s actual work as outside general counsel on HR, personnel matters, and
other issues[,] [t]here are thousands of documents showing the actual work Brian Joyce performed for [the EIB
Company] pursuant to the retainer.” See Ex. I.




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what Cooper’s letter actually stated was that “Senator Joyce’s firm did not open a new billing

matter and did not charge any client a fee for attending the meeting.” Id. at 7. Thus, the “falsity”

of the response comes down to the government’s conclusion that the retainer covered the

meeting, as opposed to Joyce’s contention that it did not. That issue is for a trier of fact and,

indeed, will be an ultimate issue in this case.

         In the second such example, the government contends that Joyce used Cooper to falsely

claim that he “direct[ed] his retirement account . . . to purchase [EIB Common Stock],” and that

this statement “permitted Joyce to conceal his significant beneficial ownership of EIB Common

Stock from the public and the Ethics Commission, while he actively pushed PACE legislation at

the direction of the EIB CEO[,]” and enabled him to defraud the IRS. Gov’t Memo. at 8, 22

(emphasis added). Once more, it is the government’s allegation that is misleading, for it

completely misstates the substance and import of Cooper’s letter. This portion of the letter was

made in response to the Commission’s inquiry based upon “[i]nformation provided to the

Commission suggest[ing] that in or about 2013-2014, Mr. Joyce purchased a significant amount

of [EIB] stock.” See Ex. H, at 7. In response, after stating that Joyce had no “personal” or direct

ownership, Cooper added that Joyce “does not want to leave the Commission with the

misimpression that he has never owned [EIB] stock either directly or indirectly . . . .” Id. at 8

(emphasis added). Cooper then proceeded to explain how Joyce in fact did have beneficial

ownership of the stock, through a retirement account; that Joyce had personally initiated the

purchase; and that Joyce’s retirement account continued to hold the shares.14 Id. at 8-9. In other


    14
       The IRS contends that Joyce’s “SEP-IRA” was faulty because the custodian was not qualified and because he
had contributed the stock rather than having the IRA purchase it, and that therefore a “rollover” of assets from his
pre-existing IRA was not tax free. Whatever the merits of that issue, Joyce contends that he believed he had a valid
IRA, as it appeared in the documents provided to him by EIB, (Ex. H at Tabs H & I), which were attached to
Cooper’s October 30, 2015 letter, similarly excised from the government’s submission here. It was both permissible
and possible for him to have created an IRA to hold private stock, and if it was done correctly and with a qualified
custodian he would not have been required to list the stock in his annual Statement of Financial Interests (SFI). See


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words, Cooper’s letter disclosed – not concealed – Joyce’s beneficial ownership to the

Commission. Once again, it cannot be said that Cooper’s representation was intended to conceal

criminal or fraudulent acts. Likewise, the government gives no clue to how Cooper’s letter—

sent to the Ethics Commission and not the IRS—was in any way used to facilitate a tax fraud.

         The other two purportedly “false” statements concerning the EIB Company relate to legal

questions concerning Joyce’s conduct and his assertion, through Cooper, of legal positions

concerning the propriety of that conduct:

         In the first such example, the government challenges Joyce’s statement (contained in a

January 27, 2016 letter which the government has not even bothered to attach to its

memorandum) that his proposed PACE legislation “could [not] reasonably be viewed as

benefitting [the EIB Company].” See Ex. K. This is a legal argument and an opinion. The

letter pointed out that the legislation, unlike similar legislation in other states (which Cooper

attached to his letter), did not have a provision allowing for the sale of insurance, and that

therefore “[b]ecause of the above facts,” (a clause likewise omitted by the government), he did

not believe that the bill “could reasonably be viewed as benefitting [EIB].” Id. All of the facts

upon which this argument rested were set out and known to the Commission. Legal arguments

based on disclosed or known facts are not true or false. A legal argument may be “wrong,” in

that the Ethics Commission may ultimately disagree with it, but it is not a “false” statement of

fact. The law recognizes, in analogous contexts, that statements of opinion are not capable of


Ex. J (exempting retirement holdings from disclosure). Although large and well-known custodial firms, (like
American Funds, Joyce’s prior custodian), may not accept such non-traditional assets because of the difficulties of
valuation and management, there are qualified custodians who do, and who act as holders of so-called “self-
directed” IRAs. See, e.g., http://selfdirectedira.nuwireivestor.com. Had Joyce gone to such a firm, and had he
caused the IRA to purchase the stock (rather than purchase it himself and then contribute the stock) he would have
been able to rollover all of his regular IRA assets into this self-directed IRA in a perfectly lawful tax free
transaction. In other words, Joyce had no reason to and no intent to mislead either the Ethics Commission or the
IRS; he was simply misadvised as to how to accomplish a lawful objective.



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being “false.” See, e.g., Cummings v. HPG Intern., Inc., 244 F.3d 16, 21 (1st Cir. 2001)

(statements of opinion not actionable as misrepresentations); see also Milkovich v. Lorain

Journal Co., 497 U.S. 1, 19 (1990) (statements of opinion not actionable in defamation); Scholz v.

Delp, 473 Mass. 242, 249 (2015) (same).

         Finally, the government characterizes as “false” a statement Cooper made on Joyce’s

behalf concerning whether Joyce’s role in the June 3, 2013 meeting with the DOI Commissioner

could be fairly considered “ministerial” (and therefore permissible, even if Joyce were

compensated). See Ex. H, at 6. As with the statement concerning PACE legislation, this is

simply Cooper’s exposition of Joyce’s legal argument and opinion. Cooper’s submission set out

the facts concerning the meeting: what the purpose of the meeting was, who attended, and what

Joyce understood his role to be. Id. at 6-7. At the time of the meeting, the only thing anyone

involved knew was that ‘Ins. Co. A’ had filed a complaint against the EIB Company in Ohio.15

Id. What is “ministerial” is a question of law, and Cooper was setting forth Joyce’s legal

argument on this point. Joyce’s argument, which Cooper advanced, was that there was no

“particular matter” before the DOI, see Mass. Gen. Laws ch. 268A, §4(a); rather, the meeting

was to provide notice of the Ohio complaint; and in any event his involvement in the meeting

was “ministerial” within the meaning of the conflict of interest laws, see id. at § 4(c)(1). There is

no factual misrepresentation. Legal arguments based upon facts are not true or false.

                                              ii. Statements Concerning Coffee.

         The remaining two allegedly false statements concern Joyce’s receipt of coffee from a

client of his law firm who owned several coffee shop franchises.


    15
       As it turned out, Ins. Co. A had lodged a complaint with the DOI prior to the meeting, but no one involved in
the meeting, not even the Insurance Commissioner, was aware of that at the time and accordingly that complaint was
not discussed. See Ex. L.



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       First, the government contends that Joyce falsely claimed, via a December 1, 2015 email

and February 5, 2016 letter from Cooper to the Ethics Commission, that he “accepted free coffee

in exchange for legal services in a 2013 coffee-for-legal services barter transaction.” Gov’t

Memo. at 22. Although the government already failed to establish before Judge Young that this

statement triggered the crime-fraud exception, it still to this day has not put forth any evidence

contradicting Joyce’s assertion that the 2013 batch of coffee was provided in lieu of payment for

legal services rendered; an assertion which Joyce substantiated to the Ethics Commission

through the submission of email communication and other non-privileged documents which

demonstrate that legal services were performed for which Joyce did not bill. See Ex. M. (The

government has conveniently omitted these attached records from the version of Cooper’s letter

which it attached as Exhibit 4 to its brief). The government appears to contend that this assertion

was false because it alleges in the indictment that the Coffee Franchise owner “had never agreed

to pay [Joyce] with coffee in exchange for legal work.” Gov’t Memo. at 10. Noticeably absent

from the indictment is any allegation (much less evidence) that Joyce’s firm either did not

actually perform the legal services for which Joyce accepted payment in the form of coffee, or

had already been paid for those services. The government has accordingly failed to meet its

burden in establishing the falsity of this statement.

       The government likewise contends that Joyce falsely claimed, through Cooper’s

December 1, 2015 email to the Ethics Commission (and Cooper’s partner’s April 3, 2015 letter

to The Boston Globe), that he purchased another batch of coffee from the Franchise Owner in

late 2014 which he paid for by check. The government has not cited any authority for the

proposition that a lawyer’s exculpatory statement on behalf of a client to a media outlet, even if

false, constitutes a crime or fraud upon the media outlet or can be said to “further” or “conceal”



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an underlying crime triggering the crime-fraud exception.16 Moreover, there is no question that

Joyce paid for the coffee and that he did so before the Ethics Commission asked any questions

about the matter. Again, as with the above statement, the government has offered no evidence

demonstrating the falsity of this statement.

      V.     The Government Has Not Met The Standard
             For An In Camera Examination Under Zolin.

           While the showing needed for an in camera examination of presumptively privileged

documents is, to be sure, less stringent than that needed to establish the crime-fraud exception,

that standard has not been met in this case. In the first place, the power to make a Zolin

examination does not supplant the Rule 17(c) requirement that the party first identify the

admissible evidence sought with specificity. As the Zolin case makes clear, the sole purpose of

the examination is “to determine the applicability of the crime-fraud exception.” 491 U.S. at

572. The Court expressly rejected the idea of allowing routine or automatic examinations, and

warned against “fishing expeditions.” Id. at 571. It is in this light that the Court must apply the

requirement that there be reasonable grounds to believe “that an in camera review may reveal

evidence to establish the claim that the crime-fraud exception applies.” Id. at 572. In other

words, the Court is not to be enlisted in a search for useful evidence where the government

cannot articulate what relevant, admissible evidence is likely to be found, as required by Rule 17.

         Here, the government has been unable to specify what it is likely find in defense

counsel’s file beyond what the defendant is already prepared to admit. The law is clear that a

“hope” that something will be found is not enough. For the reasons discussed above in section


    16
        A lawyer’s statements to a media outlet investigating his client’s conduct enjoy First Amendment protection
and cannot be grounds to disqualify the attorney in an ensuing criminal prosecution, at least absent proof of knowing
falsity. As noted, the government has not produced any evidence against Joyce and has conceded it has no evidence
of a knowing falsity by Cooper.



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IV.A, the most the government would be entitled to subpoena on its theory and submit for in

camera examination are communications between Joyce and Cooper which relate to the six

statements to the Ethics Commission which the government contends were false. But that theory

would require them to show as to each set of communications that the statements to which they

relate were both false and made in order to further an ongoing or future crime. For the reasons

set forth above, the government has not and cannot make that case.

    VI.      In No Event Is The Government Entitled To Cooper’s
             Or His Firm’s Opinion Work Product.

          Finally, even if the Court were to find that the crime-fraud exception applies to negate the

attorney-client privilege over certain communications between Joyce and Cooper, in

circumstances here where there is no reason to believe Cooper was complicit in any wrongdoing,

his opinion work product should remain absolutely immune from disclosure. See In re Green

Grand Jury Proceedings, 492 F.3d 976, 980-82 (8th Cir. 2007); In re Grand Jury Proceedings

#5 Empanelled January 28, 2004, 401 F.3d 247, 251-52 (4th Cir. 2005); In re Antitrust Grand

Jury, 805 F.2d 155, 168 (6th Cir. 1986). The rationale behind this distinction is that the attorney,

in addition to the client, holds the work product privilege, so it would be unreasonable to disclose

his opinions and thought processes where there is no evidence he has done anything wrong. See

In re Green, 492 F.3d at 980. Opinion work product comprises materials prepared with any eye

towards litigation that contain mental impressions, conclusions, opinions or legal theories of an

attorney. In re San Juan Dupont Plaza Hotel Fire Litig., 859 F.2d 1007, 1014 (1st Cir. 1988).

An attorney’s recollections, including of conversations with his client, necessarily “reveal the

attorney’s mental impressions and thought processes” and thus “are protectable as opinion work

product.” In re Green, 492 F.3d at 982; see In re Grand Jury Proceedings (Duffy), 473 F.2d 840,

848 (8th Cir. 1973) (attorney’s personal recollections are protected work product); Sparton v.


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United States, 44 Fed. Cl. 557, 564 (Fed. Cl. 1999) (same); In re Cendant Corp. Sec. Litig., 343

F.3d 658, 662 (3d Cir. 2003) (same).

        The import of this is that, where an attorney is not alleged to have been complicit in the

predicate crime-fraud, he should not be compelled to disclose opinion work product or testify to

his memory of any oral conversations he had with his client even if the attorney-client privilege

has been negated as to those conversations. Thus, the Eighth Circuit in In re Green Grand Jury

Proceedings, held that notwithstanding application of the crime-fraud exception, which

compelled production of certain otherwise privileged or ordinary work product documents

generated in furtherance of the fraud, no documents containing opinion work product need be

produced, and the attorney’s testimony before the grand jury was properly limited to questions

relating to the origins of documents. 492 F.3d at 979. Such would be the case here. As Judge

Young already ruled, the work product privilege attached when Joyce initially retained Cooper in

late March 2015 to defend him against accusations that led to the Ethics Commission

investigation and ultimately to the indictment in this case. In re Grand Jury Subpoena, 273 F.

Supp. 3d at 305. Even assuming the crime-fraud exception were to apply, Cooper cannot be

compelled to produce any documents containing opinion work product or testify as to his

recollections of any conversations with Joyce.

                                            Conclusion

        For the reasons stated above, the Court should DENY the government’s motion in its

entirety.




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                                                          Respectfully submitted,

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Dated: April 2, 2018




                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via the Court’s electronic filing
system, and served to all counsel of record on April 2, 2018.

                                                     /s/ Max D. Stern
                                                     Max D. Stern




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